          Case 2:11-cr-00159-RHW               ECF No. 336          filed 09/11/17         PageID.3030 Page 1 of 10
AO 243 (Rev. 01/15)                                                                                                               Page 2

                       MOTION UNDER 28 U.S.C. § 2255 TO VACATE, SET ASIDE, OR CORRECT
                                         SENTENCE BY A PERSON IN FEDERAL CUSTODY

United States District Court                                   District      Eastern District of Washington
Name (under which you were convicted):                                                                 Docket or Case No.:
   Doris Nelson                                                                                         11-159-RHW
Place of Confinement:                                                               Prisoner No.:
  Aliceville, Alabama FCI                                                             14003-085
UNITED STATES OF AMERICA                                                         Movant (include name under which convicted)
                                                          V.      Doris Nelson


                                                             MOTION

    1.    (a) Name and location of court which entered the judgment of conviction you are challenging:

             Eastern District of Washington, Federal District Court



          (b) Criminal docket or case number (if you know):         11-159

    2.    (a) Date of the judgment of conviction (if you know): November 3, 2014
          (b) Date of sentencing: November 3, 2014

    3.    Length of sentence: 108 months

    4.    Nature of crime (all counts):

           71 counts of Wire Fraud
           22 counts of Mail Fraud
           17 counts of Money Laundering




    5.    (a) What was your plea? (Check one)
               (1) Not guilty G                        (2) Guilty      ✔
                                                                       G                  (3) Nolo contendere (no contest)        G

          (b) If you entered a guilty plea to one count or indictment, and a not guilty plea to another count or
          what did you plead guilty to and what did you plead not guilty to?

              On April 3, 2014, three days before trial, I pled guilty to all counts without a plea agreement.




    6.    If you went to trial, what kind of trial did you have? (Check one)                    Jury G             Judge only G

    7.    Did you testify at a pretrial hearing, trial, or post-trial hearing?          Yes G                      No G

    8.    Did you appeal from the judgment of conviction?                 Yes G✔                  No G
          Case 2:11-cr-00159-RHW              ECF No. 336      filed 09/11/17      PageID.3031 Page 2 of 10
AO 243 (Rev. 01/15)                                                                                                      Page 3


    9.    If you did appeal, answer the following:
          (a) Name of court: 9th Circuit
          (b) Docket or case number (if you know): 14-30248
          (c) Result: Appeal denied; court did not abuse discretion in denying motion and renewed motion to withdraw plea
          (d) Date of result (if you know): June 13, 2016
          (e) Citation to the case (if you know):    52 Fed.Appx.515
          (f) Grounds raised:

             Abuse of discretion to deny motion to withdraw plea; error to deny renewed motion to withdraw plea.




          (g) Did you file a petition for certiorari in the United States Supreme Court?     Yes    G           No G✔
                If “Yes,” answer the following:
                (1) Docket or case number (if you know):
                (2) Result:


                (3) Date of result (if you know):
                (4) Citation to the case (if you know):
                (5) Grounds raised:




   10.    Other than the direct appeals listed above, have you previously filed any other motions, petitions, or applications,
          concerning this judgment of conviction in any court?
           Yes G         No G ✔


   11.    If your answer to Question 10 was “Yes,” give the following information:
          (a) (1) Name of court:
                (2) Docket or case number (if you know):
                (3) Date of filing (if you know):

              (4) Nature of the proceeding:
              (5) Grounds raised:
          Case 2:11-cr-00159-RHW              ECF No. 336      filed 09/11/17      PageID.3032 Page 3 of 10
AO 243 (Rev. 01/15)                                                                                                     Page 4




              (6) Did you receive a hearing where evidence was given on your motion, petition, or application?
                      Yes G          No G
              (7) Result:
              (8) Date of result (if you know):
         (b) If you filed any second motion, petition, or application, give the same information:
              (1) Name of court:
              (2) Docket of case number (if you know):
              (3) Date of filing (if you know):
              (4) Nature of the proceeding:
              (5) Grounds raised:




              (6) Did you receive a hearing where evidence was given on your motion, petition, or application?
                      Yes G          No G
              (7) Result:
              (8) Date of result (if you know):
         (c) Did you appeal to a federal appellate court having jurisdiction over the action taken on your motion, petition,
         or application?
              (1) First petition:         Yes G          No G
              (2) Second petition:        Yes G          No G
         (d) If you did not appeal from the action on any motion, petition, or application, explain briefly why you did not:




 12.     For this motion, state every ground on which you claim that you are being held in violation of the Constitution,
         laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the facts
         supporting each ground.
          Case 2:11-cr-00159-RHW                      ECF No. 336   filed 09/11/17      PageID.3033 Page 4 of 10
AO 243 (Rev. 01/15)                                                                                                              Page 5

GROUND ONE: Ineffective assistance of counsel in failing to investigate and prepare for trial; in abandoning defenses
                         that were triable, in misleading the court as to readiness to try the case, in wrongfully advising me
                         that a plea to all counts without a plea agreement was my only option.
         (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

           The facts are set forth in great detail in my attached memorandum in support, which should be incorporated.

          In sum, my trial attorneys failed to prepare for trial, mislead the court into believing they were prepared, and
         abandoned their loyalty to me in favor of keeping a good appearance before the court. They told the court I was
         pleading guilty but did not tell the court they failed to prepare any witnesses for the trial in 3 days: no subpoenas,
         no preparation, not for my few lay witnesses, not even for the accountant that was paid $110,000. They told my
         replacement lawyers that they could have won some counts from early on, but they withdrew that statement in
         their sworn affidavits. The evidence of intent was based in part on expert analysis of the business operations as
         done by a bankruptcy trustee. This trustee's opinions were attacked by three separate experts -- two hired by
         claw-back bankruptcy debtors who were fighting to show that the business was not a Ponzi scheme and one
         hired by my trial attorneys. These three expert witnesses made serious claims against the accuracy of the
         government's expert's opinions. But my lawyers did not subpoena or prepare their own witness (Oustalniol) and
         never once contacted the other two (Rice/Romney). All three were certified and highly regarded fraud examiners
         or auditor/accountants.


         (b) Direct Appeal of Ground One:
              (1) If you appealed from the judgment of conviction, did you raise this issue?
                          Yes G               No G
                                                 ✔
              (2) If you did not raise this issue in your direct appeal, explain why:
               Controlling 9th Circuit law states that, in general, ineffective assistance claims should not be brought on
             direct appeal. I raised some of the concerns in my appeal insofar as it touched on my grounds for withdrawal
             of my plea but did not raise or argue Strickland ineffectiveness. My appeal contrasted Strickland with Rule 11
         (c) withdraw.
             Post-Conviction Proceedings:
              (1) Did you raise this issue in any post-conviction motion, petition, or application?
                          Yes G               No G
                                                 ✔
              (2) If you answer to Question (c)(1) is “Yes,” state:
              Type of motion or petition:
              Name and location of the court where the motion or petition was filed:


              Docket or case number (if you know):
              Date of the court’s decision:
              Result (attach a copy of the court’s opinion or order, if available):



              (3) Did you receive a hearing on your motion, petition, or application?
                      :FT/P
              (4) Did you appeal from the denial of your motion, petition, or application?
                          Yes G               No G
              (5) If your answer to Question (c)(4) is “Yes,” did you raise the issue in the appeal?
                          Yes G               No G
          Case 2:11-cr-00159-RHW              ECF No. 336         filed 09/11/17      PageID.3034 Page 5 of 10
AO 243 (Rev. 01/15)                                                                                                          Page 6

              (6) If your answer to Question (c)(4) is “Yes,” state:
              Name and location of the court where the appeal was filed:


              Docket or case number (if you know):
              Date of the court’s decision:
              Result (attach a copy of the court’s opinion or order, if available):



              (7) If your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this
              issue:




GROUND TWO:


         (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):
            To the extent it is a separate ground, I allege that my trial lawyers got to the point where their reputations and
         work were harmed by continuing the case to trial. Instead of being clear with the court about the money (mis)spent
         on defense and lack of real preparation, they chose to convince me to plead straight up so that they could do a
         "mini-trial" at sentencing. I protested that I would have to lie to plead, they insisted this was the only way I could go
         forward. I can't say I trusted them at that point but I had failed in my attempt to get new appointed lawyers and I
         saw no option but to follow their instruction. After they had me plead, and during our time working on a sentencing
         presentation, I could see that we were in no better shape than before and Mr. Ryan in particular seemed
         flummoxed how to present sentencing arguments that were accurate and true. He seemed lost and worried as
         much for himself as for me, or more so. I knew that the Court, on 3-13-14 had already warned them on the record
         of "malpractice" with the expert and said he did not "buy" their excuses. It was plain they were in trouble. I do not
         think I had the loyalty of either by the time of the plea and the dead-end we were facing getting ready for
         sentencing made this very evident. I then got help from family, hired my own independent counsel, and we went to
         sentencing with what we had. My sentencing was fair, under the circumstances, but my plea was forced in part
         because my lawyers were in conflict with my legitimate needs.

         (b) Direct Appeal of Ground Two:
              (1) If you appealed from the judgment of conviction, did you raise this issue?
                       Yes G          No G✔




              (2) If you did not raise this issue in your direct appeal, explain why:
              I raised the denial of my motion to withdraw my plea, for which the record was more or less complete. But I
              was told my my replacement counsel that 9th circuit does not favor ineffective assistance challenges on
              direct appeal.
         (c) Post-Conviction Proceedings:
              (1) Did you raise this issue in any post-conviction motion, petition, or application?
                       Yes G          No G
                                         ✔
          Case 2:11-cr-00159-RHW              ECF No. 336         filed 09/11/17      PageID.3035 Page 6 of 10
AO 243 (Rev. 01/15)                                                                                                    Page 7

              (2) If you answer to Question (c)(1) is “Yes,” state:
              Type of motion or petition:
              Name and location of the court where the motion or petition was filed:


              Docket or case number (if you know):
              Date of the court’s decision:
              Result (attach a copy of the court’s opinion or order, if available):



              (3) Did you receive a hearing on your motion, petition, or application?
                       Yes G          No G
              (4) Did you appeal from the denial of your motion, petition, or application?
                       Yes G          No G
              (5) If your answer to Question (c)(4) is “Yes,” did you raise the issue in the appeal?
                       Yes G          No G
              (6) If your answer to Question (c)(4) is “Yes,” state:
              Name and location of the court where the appeal was filed:


              Docket or case number (if you know):
              Date of the court’s decision:
              Result (attach a copy of the court’s opinion or order, if available):



              (7) If your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this
              issue:




GROUND THREE:
                             NONE. Just the two related grounds, above.

         (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):


            I am raising only two grounds, as set forth above.
          Case 2:11-cr-00159-RHW             ECF No. 336        filed 09/11/17      PageID.3036 Page 7 of 10
AO 243 (Rev. 01/15)                                                                                                       Page 11

 15.     Give the name and address, if known, of each attorney who represented you in the following stages of the
         you are challenging:
         (a) At the preliminary hearing:
            There was no 5.1 hearing and my first appearance was at Arraignment and Initial Appearance, below

         (b) At the arraignment and plea:
           there was
          Federal    no 5.1 Ihearing,
                  Defender,           my first time
                              do not remember       in court
                                                  which one was at the Initial Appearance and Arraignment

         (c) At the trial:
          no trial, but I was represented by Terrance Ryan, who associated Chris Bugbee until just before sentencing.

         (d) At sentencing:
           Jeffry Finer, and under Pro Hac Vice, Elizabeth Kelley

         (e) On appeal:
           Jeffry Finer

         (f) In any post-conviction proceeding:
           n/a

         (g) On appeal from any ruling against you in a post-conviction proceeding:

           n/a


 16.     Were you sentenced on more than one court of an indictment, or on more than one indictment, in the same court
         and at the same time?         Yes G✔          No G

 17.     Do you have any future sentence to serve after you complete the sentence for the judgment that you are
         challenging?            Yes G           No G✔
         (a) If so, give name and location of court that imposed the other sentence you will serve in the future:



         (b) Give the date the other sentence was imposed:
         (c) Give the length of the other sentence:
         (d) Have you filed, or do you plan to file, any motion, petition, or application that challenges the judgment or
         sentence to be served in the future?          Yes G            No G


 18.     TIMELINESS OF MOTION: If your judgment of conviction became final over one year ago, you must explain
         why the one-year statute of limitations as contained in 28 U.S.C. § 2255 does not bar your motion.*


         This motion is timely, being filed within one year from finality (date of circuit decision + 90 for (untaken) supreme
        court review).
          Case 2:11-cr-00159-RHW          ECF No. 336        filed 09/11/17     PageID.3037 Page 8 of 10
AO 243 (Rev. 01/15)                                                                                                 Page 12




     * The Antiterrorism and Effective Death Penalty Act of 1996 (“AEDPA”) as contained in 28 U.S.C. § 2255,
     paragraph 6, provides in part that:
        A one-year period of limitation shall apply to a motion under this section. The limitation period shall run
        from the latest of –
            (1) the date on which the judgment of conviction became final;
            (2) the date on which the impediment to making a motion created by governmental action in violation of
            the Constitution or laws of the United States is removed, if the movant was prevented from making such a
            motion by such governmental action;
            (3) the date on which the right asserted was initially recognized by the Supreme Court, if that right has
            been newly recognized by the Supreme Court and made retroactively applicable to cases on collateral
            review; or
            (4) the date on which the facts supporting the claim or claims presented could have been discovered
            through the exercise of due diligence.
Case 2:11-cr-00159-RHW   ECF No. 336   filed 09/11/17   PageID.3038 Page 9 of 10
Case 2:11-cr-00159-RHW   ECF No. 336   filed 09/11/17   PageID.3039 Page 10 of 10
